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New York, NY 10016
212-983-1922
Wayne M. Greenwald

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HENRY IKEZI,

                        Plaintiff,                           Civ No.
-against-

CIPRIANI CLUB 55 LLC,
CIPRIANI RESTAURANTS 55 LLC,
GIUSEPPE CIPRIANI, ANDREW P. HEATON,
JOHN AIELLO, PETER McGOEY, the
BOARD OF MANAGERS OF CIPRIANI
RESIDENCES AT 55 WALL CONDOMINIUM ,
AND “JOHN DOE CORP.” D/B/A FIRST SERVICE
RESIDENTIAL,

                  Defendants.
__________________________________

                                         COMPLAINT

Henry Ikezi, by his attorneys as and for his complaint states:


                                     Jurisdiction and Venue

1.     The Plaintiff, Henry Ikezi, resides at 55 Wall Street, New York, New York.

2.     Upon information and belief, the Defendant, Giuseppi Cipriani, resides in the State of

       New York and County of New York.

3.     Upon information and belief, the Defendant, Giuseppi Cipriani, resides in the Southern

       District of New York.

4.     Upon information and belief, the Defendant, Giuseppe Cipriani, transacts business at 55

       Wall Street, New York, NY, the transaction of which business gave rise to the claims

       stated herein.


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5.    The Defendant, Cipriani Club 55 LLC, (“Cipriani Club”), maintains offices at 55 Wall

      Street, New York, NY 10008.

6.    The Defendant, Cipriani Club, transacts business at 55 Wall Street, New York, NY

      10008.

7.    The Defendant, Cipriani Restaurants 55 LLC, (“Cipriani Restaurants”), maintains offices

      at 55 Wall Street, New York, NY 10008.

8.    The Defendant, Cipriani Restaurants, transacts business at 55 Wall Street, New York, NY

      10008.

9.    Upon information and belief, the Defendant, Giuseppe Cipriani, determines the

      operations and policies of the Defendant, Cipriani Restaurants.

10.   Upon information and belief, the Defendant, Giuseppe Cipriani, determines the

      operations and policies of the Defendant, Cipriani Clubs.

11.   Upon information and belief, the Defendant, Giuseppe Cipriani, resides in the State of

      New York.

12.   Upon information and belief, the Defendant, Giuseppe Cipriani, is the proprietor of

      Cipriani Restaurants.

13.   Upon information and belief, the Defendant, Andrew P. Heaton, resides in the State of

      New York.

14.   Upon information and belief, the Defendant, Andrew P. Heaton, is the director of

      facilities and operations for Cipriani Restaurants.

15.   Upon information and belief, the Defendant, Andrew P. Heaton, is the director of

      facilities and operations for Cipriani Club.

16.   Upon information and belief, the Defendant, John Doe Corp.” d/b/a First Service

      Residential (“First Service”) maintains offices at 622 3rd Ave., 15th Fl, New York, NY

      10017.




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17.   Upon information and belief, the Defendant, First Service is the property manager of the

      Cipriani Residences at 55 Wall Condominium (the “Condominium”).

18.   Upon information and belief, the Defendant, John Aiello, resides in the State of New

      York.

19.   Upon information and belief, the Defendant, John Aiello, is an employee and agent of

      First Service as the property manager of the Condominium.

20.   Upon information and belief, the Defendant, Peter McGoey, resides in the State of New

      York.

21.   Upon information and belief, the Defendant, Peter McGoey, is the Condominium’s

      resident manager.

22.   Upon information and belief, the Defendant, Board of Managers of Cipriani Residences

      at 55 Wall Condominium (the “Board”) resides in the State of New York.

23.   Upon information and belief, the Defendant, Board, transacts business in the State of

      New York.

24.   Upon information and belief, the transactions described in this Complaint occurred

      within the Southern District of New York.

25.   This Court has subject matter jurisdiction over this action based on 28 U.S.C. § 1331 as

      this action civil actions arises under rights conferred by laws of the United States.

26.   This Court has subject matter jurisdiction over the Complaint’s claims for relief not

      arising under federal law, pursuant to 28 U.S.C. § 1367(a) based on this Court’s

      supplementary jurisdiction over those claims which are claims that are so related to

      claims in this action within this Court’s original jurisdiction that they form part of the

      same case or controversy under Article III of the United States Constitution.

27.   This district is the appropriate district for this action, pursuant to 28 U.S.C. § 1391(b) as

      a substantial part of the events or omissions giving rise to the claims stated herein

      occurred within the Southern District of New York.

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28.   This district is the appropriate district for this action, pursuant to 28 U.S.C. § 1391(b),

      upon information and belief, all of the Defendants reside within the State of New York.


                      ALLEGATIONS RELATED TO ALL CLAIMS

29.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through “28"

      of this Complaint with the same force and effect as if stated fully hereat.

30.   The Plaintiff is an African American.

31.   On or about October 2014, the Defendants, Cipriani Club and Cipriani Restaurants

      accepted the Plaintiff’s application for the “Residency & Club Membership.”

32.   On or about October 2014, the Defendants, Cipriani Club and Cipriani Restaurants

      accepted the Plaintiff as a member of the Cipriani Club.

33.   On or about October 2014, the Defendants, Cipriani Club and Cipriani Restaurants and

      the Plaintiff entered in an agreement under which the Plaintiff became a member of the

      Cipriani Club (the “Agreement”)

34.   The Agreement provided the Plaintiff with benefits as a member of the Cipriani Club.

35.   As a member of the Cipriani Club, the Plaintiff was granted the right to use, among other

      things, the Club’s business lounge.

36.   Cipriani Club represents that Cipriani Club members using the Cipriani Club’s business

      lounge will be provided with “a discreet private office in the back, where our concierge

      awaits to assist you with any personal or professional needs to assure your success.”

37.   As a member of the Cipriani Club, the Plaintiff was granted the right to, among other

      things, use the facilities of Cipriani Restaurants located at 55 Wall Street, New York,

      New York.

38.   As a member of the Cipriani Club, the Plaintiff was granted the right to, among other

      things, use the facilities of the Cipriani Club’s “members only” dining room located on

      the second floor of 55 Wall Street, New York, New York.


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39.   Cipriani Club offers its members the right to use Cipriani Restaurant’s facilities for the

      purpose of, among other things, conducting business.

40.   The Plaintiff became a member of the Cipriani Club Agreement for the specific purpose

      of using the Cipriani Club and Cipriani Restaurants as a location for conducting the

      Plaintiff’s business.

41.   On or about April 2015, Cipriani Club advised the Plaintiff that Cipriani Club was

      terminating the Plaintiffs’s rights as a member of the Cipriani Club.

42.   On or about April 2015, when Cipriani Club advised the Plaintiff that Cipriani Club was

      terminating the Plaintiffs’s rights under the Club Agreement, Cipriani Club advised the

      Plaintiff that Cipriani Club’s reason for terminating the Plaintiff’s rights as a member of

      the Cipriani Club was that he is an African American.

43.   Upon information and belief, Cipriani Club terminating the Plaintiff’s rights as a

      member of the Cipriani Club because he is an African American.

44.   On or about May 2, 2015, the Plaintiff was using the facilities of the Cipriani Club and

      Cipriani Restaurant, as a member of the Cipriani Club.

45.   On or about May 2, 2015, the Plaintiff and guests of the Plaintiff were using the facilities

      of the Cipriani Club and Cipriani Restaurant, as the Plaintiff was permitted as a member

      of the Cipriani Club.

46.   When the Plaintiff used the facilities of the Cipriani Club and Cipriani Restaurant, as a

      member of the Cipriani Club, the Plaintiff’s conduct complied with the Cipriani Club’s

      rules.

47.   On May 2, 2015, when the Plaintiff and his guests used the facilities of the Cipriani Club

      and Cipriani Restaurant, their conduct complied with the Cipriani Club’s rules.

48.   Prior to May 2, 2015, the Plaintiff obtained permission from the Cipriani Club to use the

      Cipriani Club’s “screening room” on May 2, 2015.




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49.   On or about May 2, 2015, while the Plaintiff was using the facilities of the Cipriani Club

      and Cipriani Restaurant, as a member of the Cipriani Club, the Defendants, Cipriani Club

      and Cipriani Restaurant, enlisted the New York City Police Department to remove the

      Plaintiff from the facilities of the Cipriani Club and Cipriani Restaurant.

50.   On or about May 2, 2015, while the Plaintiff was using the “screening room” of facilities

      of the Cipriani Club and Cipriani Restaurant, as a member of the Cipriani Club, the

      Defendants, Cipriani Club and Cipriani Restaurant, enlisted the New York City Police

      Department to remove the Plaintiff from the facilities of the Cipriani Club and Cipriani

      Restaurant.

51.   On May 2, 2015, the Plaintiff’s guests who were with him using the facilities of the

      Cipriani Club and Cipriani Restaurant were African American.

52.   Upon information and belief, the Defendants’, Cipriani Club and Cipriani Restaurant,

      reason for enlisting the New York City Police Department to remove the Plaintiff from

      the facilities of the Cipriani Club and Cipriani Restaurant on May 2, 2015, was that the

      Plaintiff is an African American.

53.   On May 2, 2015, at the Defendants’, Cipriani Club and Cipriani Restaurant’s request,

      Representatives of New York City Police Department confronted the Plaintiff at the

      facilities of the Cipriani Club and Cipriani Restaurants to remove the Plaintiff from the

      facilities of the Cipriani Club and Cipriani Restaurant.

54.   During that confrontation on May 2, 2015, the Plaintiff explained to the representatives

      of New York City Police Department that he was using the facilities of the Cipriani Club

      and Cipriani Restaurants because he is a member of the Cipriani Club.

55.   On May 2, 2015, based on the Plaintiff being a member of the Cipriani Club, the

      representatives of New York City Police Department declined to remove the Plaintiff

      from the facilities of the Cipriani Club and Cipriani Restaurant.




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56.   On or about April 2014, the Defendants, Cipriani Club and Cipriani Restaurant,

      suspended the Plaintiff’s privileges as a member of the Cipriani Club.

57.   On, about and between May 2015 and the present, the Defendant, Peter McGoey, as an

      agent of Cipriani Club and Cipriani Restaurants called the building security and police

      on numerous occasions with respect to the Plaintiff.

58.   On, about and between May 2015 and the present, the Defendant, Peter McGoey, as an

      agent of Cipriani Club and Cipriani Restaurants restricted the Plaintiff’s access to the

      facilities of the Cipriani Club and Cipriani Restaurants on numerous occasions.

59.   On, about and between May 2015 and the present, the Defendant, First Service through

      its agent and employee, John Aiello, as an agent of Cipriani Club and Cipriani

      Restaurants called the building security and police on numerous occasions with respect to

      the Plaintiff.

60.   On, about and between May 2015 and the present, the Defendant, First Service through

      its agent and employee, John Aiello, as an agent of Cipriani Club and Cipriani

      Restaurants restricted the Plaintiff’s access to the facilities of the Cipriani Club and

      Cipriani Restaurants on numerous occasions.

61.   Upon information and belief, First Service’s conduct with respect to the Plaintiff was

      because the Plaintiff is African American.

62.   Upon information and belief, Mr. Aiello’s conduct with respect to the Plaintiff was

      because the Plaintiff is African American

63.   On or about April 2015, in a telephone conversation with the Plaintiff, the Defendant,

      John Aiello, told the Plaintiff that the Plaintiff was not a resident at the Condominium

      and that the Plaintiff is not a person in his eyes.

64.   Upon information and belief, Mr. Aiello’s statements to the Plaintiff were made because

      the Plaintiff is African American.




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65.   As a member of Cipriani Club, the Plaintiff and his guests are entitled to a 20% discount

      off the regular price of meals provided by Cipriani Restaurants and free breakfast on

      weekends (“Food Privileges”).

66.   Cipriani Club and Cipriani Restaurant suspended the Plaintiff’s Food Privileges.

67.   Upon information and belief, the reason for the Cipriani Club and Cipriani Restaurants

      suspending the Plaintiff’s privileges as a member of the Cipriani Club was that he is an

      African American.

68.   Upon information and belief, the reason for the Defendants restricting the Plaintiff’s

      access to the Cipriani Club and Cipriani Restaurants was that the Plaintiff is an African

      American.

69.   When the Plaintiff attempted to exercise his privileges as a Cipriani Club member, the

      Defendants conducted themselves in a manner which caused the Plaintiff to feel that he

      was less welcome at the Cipriani Club’s and Cipriani Restaurant’s facilities because he is

      an African American.

70.   Upon information and belief, Andrew P. Heaton, implemented the Defendants’

      discriminatory practices and policies against the Plaintiff.

71.   Upon information and belief, First Service, implemented the Defendants’ discriminatory

      practices and policies against the Plaintiff.

                             FIRST CLAIM FOR RELIEF
                     Against Cipriani Club and Cipriani Restaurants
                                   Breach of Contract

72.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through “71"

      of this Complaint with the same force and effect as if stated fully hereat.

73.   The Defendant, Cipriani Club breached its Agreement with the Plaintiff.

74.   The Defendant, Cipriani Restaurants breached its Agreement with the Plaintiff.

75.   By reason of the foregoing, the Plaintiff has been injured.

76.   By reason of the foregoing, the Plaintiff has suffered damages.



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77.   By reason of the foregoing, the Plaintiff has suffered damages in a sum to be determined

      at trial but not less than $1,000,000.

                            SECOND CLAIM FOR RELIEF
                     Against Cipriani Club and Cipriani Restaurants
                             Violation of 42 U.S.C. § 2000(a)

78.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through “77"

      of this Complaint with the same force and effect as if stated fully hereat.

79.   The Defendant, Cipriani Club, denied the Plaintiff full and equal enjoyment of the goods,

      services, facilities, privileges, advantages, and accommodations of its places of public

      accommodation without discrimination or segregation on the ground of race, color,

      religion, or national origin.

80.   The Defendant, Cipriani Restaurants, denied the Plaintiff full and equal enjoyment of the

      goods, services, facilities, privileges, advantages, and accommodations of its places of

      public accommodation without discrimination or segregation on the ground of race,

      color, religion, or national origin.

81.   Upon information and belief, the Defendant, Cipriani Club, affects interstate commerce.

82.   Upon information and belief, the Defendant, Cipriani Restaurants, affects interstate

      commerce.

83.   By reason of the foregoing, the Plaintiff has been injured.

84.   By reason of the foregoing, the Plaintiff has suffered damages.

85.   By reason of the foregoing, the Plaintiff continues to suffer irreparable injury.

86.   The Defendants’ conduct is continuing.

87.   The Defendants’ conduct threatens to continue.

88.   The Plaintiff’s injuries are continuing.

89.   The Plaintiff’s injuries threaten to continue.

90.   By reason of the foregoing, the Plaintiff is entitled to a permanent injunction prohibiting

      the Defendants from denying the Plaintiff full and equal enjoyment of their goods,

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      services, facilities, privileges, advantages, and accommodations of its places of public

      accommodation without discrimination or segregation on the ground of race, color,

      religion, or national origin.

91.   By reason of the foregoing, the Plaintiff is entitled to a permanent injunction prohibiting

      the Defendants from denying the Plaintiff full and equal enjoyment of his membership in

      Cipriani Club.

92.   By reason of the foregoing, the Plaintiff is entitled to a money judgment against the

      Defendants for the Plaintiff’s attorneys’ fees and related disbursements incurred by the

      Plaintiff in bringing this action.


                               THIRD CLAIM FOR RELIEF
                       Against Cipriani Club and Cipriani Restaurants
                                Violation of 42 U.S.C. § 1981

93.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through “92"

      of this Complaint with the same force and effect as if stated fully hereat.

94.   The Defendant, Cipriani Club, denied the Plaintiff the enjoyment of all benefits,

      privileges, terms, and conditions of the contractual relationship under the Agreement,

      based on the Plaintiff being an African American.

95.   The Defendant, Cipriani Club, denied the Plaintiff the right make and enforce contracts,
      and full and equal benefit of all laws as is enjoyed by Caucasian citizens.

96.   The Defendant, Cipriani Restaurants, denied the Plaintiff the enjoyment of all benefits,

      privileges, terms, and conditions of the contractual relationship under the Agreement,

      based on the Plaintiff being an African American.

97.   The Defendant, Cipriani Club, denied the Plaintiff the right make and enforce contracts,

      and full and equal benefit of all laws as is enjoyed by white citizens.

98.   By reason of the foregoing, the Plaintiff has been injured.

99.   By reason of the foregoing, the Plaintiff has suffered damages.


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100.   By reason of the foregoing, the Plaintiff has suffered damages in a sum to be determined

       at trial but not less than $1,000,000.

101.   By reason of the foregoing, the Plaintiff is entitled to an award of punitive damages

       against the Defendants in a sum to be determined at trial but not less than $3,000,000.

102.   By reason of the foregoing, the Plaintiff is entitled to a permanent injunction prohibiting

       the Defendants from denying the Plaintiff full and equal enjoyment of his membership in

       Cipriani Club.

103.   By reason of the foregoing, the Plaintiff is entitled to a money judgment against the

       Defendants for the Plaintiff’s attorneys’ fees and related disbursements incurred by the

       Plaintiff in bringing this action.


                            FOURTH CLAIM FOR RELIEF
            Against Cipriani Club, Cipriani Restaurants and Giuseppe Cipriani
                    Violation of New York State Executive Law § 296

104.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through

       “103" of this Complaint with the same force and effect as if stated fully hereat.

105.   The Defendant, Cipriani Club, directly or indirectly, refused, withheld from or denied to

       the Plaintiff accommodations, advantages, facilities or privileges of the Cipriani Club and

       Cipriani Restaurants because the Plaintiff is African American.
106.   The Defendant, Cipriani Restaurants, directly or indirectly, refused, withheld from or

       denied to the Plaintiff accommodations, advantages, facilities or privileges of the

       Cipriani Club and Cipriani Restaurants because the Plaintiff is African American.

107.   The Defendant, Giuseppe Cipriani, as proprietor of Cipriani Restaurants, directly or

       indirectly, refused, withheld from or denied to the Plaintiff accommodations,

       advantages, facilities or privileges of the Cipriani Club and Cipriani Restaurants because

       the Plaintiff is African American.




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108.   The Defendants, Giuseppe Cipriani, as proprietor of Cipriani Restaurants, Cipriani Club

       and Cipriani Restaurants have and continue to subject the Plaintiff to disparate treatment

       by denying plaintiff equal opportunity to use their place of public accommodation all

       because Plaintiff is African American.

109.   The Defendants’ conduct articulates to African Americans, such as the Plaintiff, that they

       are not welcome, objectionable and not desired as patrons the Defendants’ place of public

       accommodation.

110.   The Defendants’ conduct discriminates against the Plaintiff in violation of New York

       State Executive Law § 296(2)(a).

111.   By reason of the foregoing, the Plaintiff has been injured.

112.   By reason of the foregoing, the Plaintiff has suffered damages.

113.   By reason of the foregoing, the Plaintiff has suffered damages in a sum to be determined

       at trial but not less than $1,000,000.

114.   By reason of the foregoing, the Plaintiff is entitled to a permanent injunction prohibiting

       the Defendants from denying the Plaintiff full and equal enjoyment of his membership in

       Cipriani Club.

115.   By reason of the foregoing, the Plaintiff is entitled to a money judgment against the

       Defendants for the Plaintiff’s attorneys’ fees and related disbursements incurred by the

       Plaintiff in bringing this action.


                               FIFTH CLAIM FOR RELIEF
                                  Against All Defendants
                 Violation of New York City Administrative Code § 8-107(4)

116.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through

       “115" of this Complaint with the same force and effect as if stated fully hereat.




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117.   The Defendant, Cipriani Club, withheld and denied to the Plaintiff accommodations,

       advantages, facilities or privileges of the Cipriani Club and Cipriani Restaurant account

       of race, creed, color, national origin, on account of the Plaintiff being African American.

118.   The Defendant, Cipriani Restaurant, withheld and denied to the Plaintiff

       accommodations, advantages, facilities or privileges of the Cipriani Club and Cipriani

       Restaurant account of race, creed, color, national origin, on account of the Plaintiff being

       African American.

119.   The Defendant, Giuseppe Cipriani, as proprietor of Cipriani Restaurants withheld and

       denied to the Plaintiff accommodations, advantages, facilities or privileges of the

       Cipriani Club and Cipriani Restaurant account of the Plaintiff being African American.

120.   The Defendant, Andrew P. Heaton, as manager, agent and/or employee of Cipriani

       Restaurants withheld and denied to the Plaintiff accommodations, advantages, facilities

       or privileges of the Cipriani Club and Cipriani Restaurant on account of the Plaintiff

       being African American.

121.   The Defendant, Andrew P. Heaton, as manager, agent and/or employee of Cipriani Club

       withheld and denied to the Plaintiff accommodations, advantages, facilities or privileges

       of the Cipriani Club and Cipriani Restaurant on account of the Plaintiff being African

       American.

122.   The Defendant, Peter McGoey’s conduct with respect to the Plaintiff was due to the

       Plaintiff being African American.

123.   The Defendant, John Aiello’s conduct with respect to the Plaintiff was due to the Plaintiff

       being African American.

124.   The Defendant, First Services’s conduct with respect to the Plaintiff was due to the

       Plaintiff being African American.

125.   Upon information and belief, the Board facilitated the other Defendants discriminatory

       conduct against the Plaintiff.


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126.   Upon information and belief, the Board facilitated the other Defendants’ discriminatory

       conduct and practices against the Plaintiff by, among other things, doing nothing to

       curtail that conduct by the Condominium’s agents and employees when the Plaintiff

       apprised the Board of the Defendants’ discriminatory conduct and practices against the

       Plaintiff.

127.   Upon information and belief, the Board facilitated the other Defendants’ discriminatory

       conduct and practices against the Plaintiff by, among other things, providing Cipriani

       Clubs and Cipriani Restaurant with information concerning the Plaintiff.

128.   By reason of the foregoing, the Plaintiff has been injured.

129.   By reason of the foregoing, the Plaintiff has suffered damages.

130.   By reason of the foregoing, the Plaintiff has suffered damages in a sum to be determined

       at trial but not less than $1,000,000.

131.   By reason of the foregoing, the Plaintiff is entitled to an award of punitive damages

       against the Defendants in a sum to be determined at trial but not less than $3,000,000.

132.   By reason of the foregoing, the Plaintiff is entitled to a permanent injunction prohibiting

       the Defendants from denying the Plaintiff full and equal enjoyment of his membership in

       Cipriani Club.

133.   By reason of the foregoing, the Plaintiff is entitled to a money judgment against the

       Defendants for the Plaintiff’s attorneys’ fees and related disbursements incurred by the

       Plaintiff in bringing this action.


                                SIXTH CLAIM FOR RELIEF
                                   Against All Defendants
                        Violation of New York State Civil Rights Law

134.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through

       “133" of this Complaint with the same force and effect as if stated fully hereat.




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135.   By reason of the foregoing, each of the Defendants violated New York State Civil Rights

       Law § 40.

136.   By reason of the foregoing, each of the Defendants violated New York State Civil Rights

       Law § 40-C.

137.   By reason of the foregoing, the Plaintiff is entitled to recover from each of the

       Defendants the penalty prescribed by New York State Civil Rights Law §§ 40-C and 40-

       C, in the amount of $500.00 per defendant for each and every and violation of that statute

       with respect to the Plaintiff.

138.   Notice of the Defendants’ violations and this action has been served upon the Attorney

       General as required by New York State Civil Rights Law § 40-D.


                               SEVENTH CLAIM FOR RELIEF

                                        Against All Defendants

139.   The Plaintiff restates the allegations contained in paragraphs numbered “1" through

       “138" of this Complaint with the same force and effect as if stated fully hereat.

140.   Upon information and belief, each of the Defendants intended to perform each of the acts

       described in this Complaint that are attributed to the respective Defendants.

141.   Upon information and belief, each of the Defendants knew that the acts described in this
       Complaint that are attributed to the respective Defendants violated the Plaintiff’s civil

       rights.

142.   Upon information and belief, each of the Defendants intended that the acts described in

       this Complaint that are attributed to the respective Defendants would the Plaintiff’s civil

       rights.

143.   Upon information and belief, each of the Defendants intended to perform the acts

       described in this Complaint that are attributed to the respective Defendants knowing that

       they were discriminating against the Plaintiff.


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144.   Upon information and belief, each of the Defendants intended to perform the acts

       described in this Complaint that are attributed to the respective Defendants knowing that

       they were discriminating against the Plaintiff because he is an African American.

145.   By reason of the foregoing, the Plaintiff has been injured.

146.   By reason of the foregoing, the Plaintiff has suffered damages.

147.   By reason of the foregoing, the Plaintiff has suffered damages in a sum to be determined

       at trial but not less than $1,000,000.

148.   By reason of the foregoing, the Plaintiff is entitled to an award of punitive damages

       against each of the Defendants in a sum to be determined at trial but not less than

       $3,000,000.



WHEREFORE, the Plaintiff asks for judgment against the Defendants as follows.

FIRST CLAIM FOR RELIEF: a money judgments in the Plaintiff’s favor and against the

       Defendants, Cipriani Club and Cipriani Restaurants, in a sum to be determined at trial,

       but not less than $1,000,000, with interest thereon.



SECOND CLAIM FOR RELIEF: I.) a permanent injunction prohibiting the Defendants,

       Cipriani Club and Cipriani Restaurants, from: a.) denying the Plaintiff full and equal

       enjoyment of their goods, services, facilities, privileges, advantages, and

       accommodations of its places of public accommodation without discrimination or

       segregation on the ground of race, color, religion, or national origin; b.) denying the

       Plaintiff full and equal enjoyment of his membership in Cipriani Club, II.) a money

       judgment against the Defendants, Cipriani Club and Cipriani Restaurants, for the

       Plaintiff’s attorneys’ fees and related disbursements incurred by the Plaintiff in bringing
       this action.



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THIRD CLAIM FOR RELIEF: a.) A money judgment in the Plaintiff’s favor and against the

      Defendants in a sum to be determined at trial but not less than $1,000,000, with interest

      thereon; b;) an award of punitive damages against the Defendants in a sum to be

      determined at trial but not less than $3,000,000; c.) a permanent injunction prohibiting

      the Defendants from denying the Plaintiff full and equal enjoyment of his membership in

      Cipriani Club; and d.) a money judgment against the Defendants for the Plaintiff’s

      attorneys’ fees and related disbursements incurred by the Plaintiff in bringing this action

      with interest thereon.



FOURTH CLAIM FOR RELIEF: a.) A money judgment in the Plaintiff’s favor and against

      the Defendants in a sum to be determined at trial but not less than the principal sum of

      $1,000,000 with interest thereon; b.) a permanent injunction prohibiting the Defendants

      from denying the Plaintiff full and equal enjoyment of his membership in Cipriani Club;

      c.) a money judgment against the Defendants for the Plaintiff’s attorneys’ fees and

      related disbursements incurred by the Plaintiff in bringing this action with interest

      thereon.

FIFTH CLAIM FOR RELIEF: a.) A money judgment in the Plaintiff’s favor and against the

      Defendants in a sum to be determined at trial but not less than $1,000,000 with interest

      thereon; b.) an award of punitive damages against the Defendants in a sum to be

      determined at trial but not less than $3,000,000; c.) a permanent injunction prohibiting

      the Defendants from denying the Plaintiff full and equal enjoyment of his membership in

      Cipriani Club.; d.) a money judgment against the Defendants for the Plaintiff’s attorneys’

      fees and related disbursements incurred by the Plaintiff in bringing this action with

      interest thereon.




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SIXTH CLAIM FOR RELIEF A money judgment in the Plaintiffs favor and against the

       Defendants the penalty prescribed by New York State Civil Rights Law§§ 40-C and 40-

       C, in the amount of$500.00 per defendant for each and every and violation of that statute

       with r~ect to the Plaintiff with interest thereon.



SEVENTH CLAIM FOR RELIEF: a.) A money judgment in the Plaintiffs favor and against

       the Defendants in a sum to be determined at trial but not less than $1,000,000 with

       interest thereon; b.) an award of punitive damages against each of the Defendants in a

       sum to be determined at trial but not less than $3,000,000.

The Plaintiffs costs and disbursements incurred in this case; and

Such other and further relief as the Court deems proper.

Dated: New York, New York
        July 28, 2015
                                             WAYNE GREENWALD, P.C.
                                             Attorneys for Plaintiff, Henry Ikezi
                                             at 475 Park Avenue South- 26th Floor
                                             New York, NY 10 1
                                             212-983; 1922
                                                      j'




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                                 VERIFICATION

Henry Ikezi declares:

1.    I am te Plaintiff in this action and have personal knowledge of the facts

      stated herein .

2.    I read the foregoing Complaint, know the contents thereof, and the factual

      statements therein are true and conect to the best of my knowledge,

     information and belief.

3.   I declare the preceding statement of fact to be tme and correct to the best of

     my knowledge information and beliet~ under penalties of perjury, pursuant

     to 28 U.S.C. § 1746 .
                                                                          --7

Dated: New York, NY
       July 28, 2015




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